                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
                    Plaintiff,        )
                                      )
vs.                                   ) CASE NO. 18-3137-02-CR-S-BP
                                      )
                                      )
ROBIN PARKER,                         )
                                      )
                    Defendant.        )

                             MOTION TO CONTINUE

      COMES NOW Defendant Robin Parker, by and through counsel

Alison Hershewe, and moves for a continuance of the trial setting in the

above-captioned case. In support, counsel states:


      1.      The matter currently is set on the December 2019 joint

criminal trial docket beginning December 2, 2019. Counsel requests

until the March 2020 trial docket or a date thereafter for the following

reasons.


      2.      Counsel believes this case will very likely to be disposed of

without the expense of a trial but needs additional time to investigate,

research, complete discovery, pursue necessary plea negotiations, to


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thereafter possibly make necessary revisions to the factual basis and

sentencing guideline calculations of a potential plea agreement, and

thereafter to review the potential new items of discovery and plea

agreement with Defendant.


     3.      Initial discovery provided in the case is voluminous and

additional discovery is expected. Counsel needs time to do follow-up

investigation and research, especially regarding two items of discovery

that only recently became available within the last week.


     4.     Both discovery items could affect stipulations and facts

contained in a potential plea agreement and Ms. Parker’s potential

preliminary Sentencing Guidelines calculations; therefore, defense

counsel needs additional time in order to effectively advise Ms. Parker

about her legal rights, sentencing guidelines, and options in this case.


     5.       If a trial is necessary, defense counsel needs until March of

2019 to prepare, given the volume and content of discovery and the

witnesses she believes may need to be called to testify. Additionally,

after following up on the two new items of discovery previously




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mentioned, there may be additional discovery yet to be completed that

is relevant to plea negotiations and potential guideline calculations.


     6.      Ms. Parker has been on bond since December of 2018. She is

employed, has regular contact with her pretrial supervising officer,

undergoes outpatient dual diagnosis counseling, and is on the Code-a-

Phone random drug testing protocol, wherein she calls in every day and

appears for a drug test within a few hours when randomly selected. She

has always appeared for and cooperated with all drug testing requested

by pretrial services, even before being placed on the Code-a-Phone, and

since being on the Code-a-Phone, she has not failed a drug test.


     7.      This continuance is not sought for purpose of dilatory delay

but is sought so that Ms. Parker may be afforded due process of law

under the Fifth and Sixth Amendments to the United States

Constitution. In accordance with 18 U.S.C. 3161(h)(7)(A) and (B)(iv), it

is submitted that the ends of justice served by this continuance

outweigh the best interests of the public and Ms. Parker, in a speedy

trial as required by 18 U.S.C. 3161(c)(1).




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     8.      Counsel communicated with Assistant U.S. Attorney

Josephine Stockard who is prosecuting the case about this request for

continuance; she indicated she had no objection.


     9.      Counsel discussed this request with defendant and advised

her about her speedy trial rights. She understands the reasons for this

continuance request and believes that it is in her best interests.


     WHEREFORE, Defendant respectfully requests that the trial setting

of the matter be continued until the March 2020 joint criminal trial

docket or after such time as the Court orders.


                               Respectfully submitted,


                               /s/ Alison Hershewe
                               Alison Hershewe
                               Attorney for Defendant Robin Parker

                           CERTIFICATE OF SERVICE

     I hereby certify that on November 5, 2019, the foregoing document
was electronically filed with the Clerk of the Court using the CM/ECF
system which sent notification of such filing to the Assistant United
States Attorney, Springfield, Missouri, and all other counsel of record.

                                        /s/ Alison Hershewe



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